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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                    Case No. 18-cv-07459
                      Plaintiff,
                                                    Judge Charles R. Norgle
      v.
                                                    Magistrate Judge Maria Valdez
SHENZHEN BARFLIN INVESTMENT CO.,
LTD., et al.,

                      Defendants.


                    NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

      Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following

Defendants:

              Defendant Name                                      Line No.
                7sevenstation                                        42
               blackroseflower                                       56
                lepanxiaodian                                       143
               Lucky Sun Girl                                       154
                  Salestock                                         179
                 wanghao777                                         209
                  ziweixing                                         253
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Dated this 13th day of June 2019.           Respectfully submitted,

                                            /s/ RiKaleigh C. Johnson
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
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